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         DECLARATION OF A                                  P           -F



1. I,               P      -F     , make this declaration based on my personal
   knowledge and declare under oath pursuant to 28 U.S.C. § 1746 that the following is true
   and correct.

2. My biological daughter is C              P      -R          . She is 12 years old.

3. Immigration officials took my daughter away from me on June 4, 2018. We had just
   entered the United States of America the same day. We were very tired and hungry from
   our journey. When we saw the immigration officials we asked them for help and they
   arrested us. I tried to explain that we were in the United States to ask for asylum because
   I had been shot, assaulted, and me and my family had received death threats in Honduras.

4. The immigration officials brought us to a station in Brownsville, Texas. The officials
   took my daughter away from me after we arrived at the station. I haven ot heard or seen
   my daughter since they separated us. It has been 8 days and I do not know anything about
   where my daughter is or how she is doing.

5. I have not been able to sleep because I have not seen my daughter. I worry about her all
   the time and I cry when I think of her.

6. I declare under penalty of perjury of the laws of the United States that the foregoing is
   true and correct based on my personal knowledge.
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 fJ
I,                            , under pains and penalty of peljury state and declare that
the above affidavit is an accurate account of my oral declaration. I further certify that the
above information is true and correct.




         Oft             f                                                      0-12 -I B
       Nam                                                                     Date



                             CERTIFICATE OF TRANSLATION

I, Marlene Chavez, hereby certify that the above is an accurate translation of
A         P              declaration from Spanish to English and that I am
competent in both Spanish and English to render such translation. I read it back to
him in Spanish and he indicated that it was true and correct.



JJJJ)U--t                                                                        {r/2.-/TJ
                                                                               Date
